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                                                                       U.S. DISTRICT COURT
                                                                           N.D. OF ALABAMA


           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF ALABAMA
                   SOUTHERN DIVISION

UNITED STATES OF AMERICA,

    vs.                            CASE NO. 2:17-CR-00419-AKK-TMP

JOEL IVERSON GILBERT,
STEVEN GEORGE McKINNEY,
DAVID LYNN ROBERSON,

          Defendants


DEFENDANTS’ JOINT MOTION TO DISMISS THE INDICTMENT
      AND MEMORANDUM IN SUPPORT THEREOF
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                                  INTRODUCTION
       All Defendants in this matter jointly move to dismiss the Indictment because it

rests on a sweepingly overbroad and legally incorrect reading of the federal bribery laws

and seeks to punish the accused for engaging in constitutionally protected speech in

opposition to a federal agency. Its allegations fail to state a criminal offense.

       Acting through outside counsel at Balch & Bingham, the Drummond Company

hired the Oliver Robinson Foundation (the “Foundation”) to lead a public education

and advocacy campaign against a plan by the EPA to take certain regulatory actions

regarding the 35th Avenue Superfund Site (the “Site”) in north Birmingham. Specifically,

the EPA had proposed to give the Site a “priority” designation reserved for the

country’s most toxic areas, and to expand the Site to cover two new areas (the City of

Tarrant and the Inglenook neighborhood in Birmingham). Oliver Robinson and his

Foundation were natural allies of Defendants on this issue: Like many other leaders of

the local community, they were concerned that the supposed pollution in these areas

had been vastly overblown by ideological activists, and that stigmatizing these

neighborhoods as a toxic wasteland would accomplish nothing more than devastating

property values and sinking the local economy.

       As noted in the Indictment, “the contract between Balch & Bingham and the

Oliver Robinson Foundation” provided for the Foundation and “other individuals” to

“communicate[] . . . to the residents of north Birmingham” their “opposition to EPA’s

actions.” Indictment ¶ 62. The Foundation was hired to—and did in fact—conduct real


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work in the community in an area outside of Robinson’s legislative district. Pursuant to

the contract, it “communicated with the residents through an organization formed for

that purpose.” Id. To help with the effort, the Foundation hired workers to print flyers,

knock on doors, and educate the public about the risks of the Superfund plan.

      At the same time, Robinson engaged in other activities that were consistent with

his expressed personal views about the EPA’s proposed actions. He wrote letters to

and attended a hearing of a state administrative agency, where he truthfully said he had

“yet to see any information that shows me that this area should be designated as a

Superfund site.” Indictment ¶ 58. He also “met” and “discuss[ed] issues related to north

Birmingham” with officials at the EPA, id. ¶ 38, the governmental body with ultimate

decision-making authority over the Superfund plan. Meanwhile, the vast majority of

Alabama legislators and executive officials had long since come to the independent

conclusion that the Superfund plan was ill-advised, and in 2016 the EPA abandoned its

proposal to expand the Superfund site after concluding that Tarrant and Inglenook

contained no harmful pollution warranting EPA action after all.

      The federal government is now prosecuting a Drummond executive and two of

the Balch attorneys who opposed the Superfund plan. According to the Indictment,

Defendants’ hiring of the Foundation to advocate and educate about the Superfund

plan was unlawful “bribery” under 18 U.S.C. § 1346 and § 666. See Indictment ¶¶ 63-

66. The theory of the Indictment is that because Robinson was a part-time legislator,

that transformed his (and his Foundation’s) constitutionally protected issue advocacy

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into unlawful “official action” designed to “influence” the state’s “business” in taking a

position on the EPA’s Superfund plan.

      The government has significantly overreached, and its Indictment must be

dismissed as a matter of law. As the Supreme Court recently held in McDonnell v. United

States, “bribery” requires paying a public official for an “official act” involving some

“formal exercise of governmental power.” 136 S. Ct. 2355, 2372 (2016). Here, however,

even if the government could prove that Defendants paid Robinson to oppose the

EPA’s Superfund plan, the actions that he allegedly took were not “official actions”

because they did not invoke the official powers of his office.

      Hiring a part-time state legislator (or an affiliated non-profit) to engage in

advocacy on a matter of public policy is commonplace and fully protected by the First

Amendment. Indeed, many of Alabama’s part-time legislators represent clients in their

private capacities as lawyers, consultants, or lobbyists. Alabama law expressly permits

them to do so, “for a fee,” before any “executive department.” Ala. Code § 36-25-10.

Such a representation may trade on the legislator’s reputation or prestige, but it does

not amount to bribery because it does not corrupt the “official” powers of any public

office. Issue advocacy cannot possibly qualify as unlawful “official action” under § 1346,

nor can it be punished as an illegal act of a state “agent” “in connection with” state

“business” under § 666. While the failure to disclose a conflict of interest in this

situation may have been a violation of state disclosure laws by Robinson (although not



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by Defendants), it could not have violated the federal bribery laws, as the Supreme

Court unanimously held in Skilling v. United States, 130 S. Ct. 2896, 2932–33 (2010).

      Tellingly, at the press conference announcing the charges in this case, a reporter

pointed out that there have been “a number of situations where public officials have

had these consulting contracts” to advocate on behalf of private clients regarding state

policy, and asked “Where is the line?” In his response, U.S. Attorney Jay Town

admitted: “I don’t know where the line is, but I know [this is] on the other side of it.”

See Appendix A (“Town Tr.”) at 26-27 attached. The government has thus conceded

that its theory leaves no clear line between constitutionally protected advocacy and

unlawful bribery.

      Under a properly limited reading of the law, the only act alleged in the Indictment

that could even conceivably qualify as “official action” is Robinson’s committee vote

on a symbolic, non-binding resolution to be sent for consideration by the full Alabama

House opposing the Superfund plan. That single vote by itself, however, cannot

remotely sustain the government’s case. Not only is such a non-binding, hortatory

resolution not a “formal exercise of governmental power” under McDonnell, 136 S. Ct.

at 2372, but the Indictment fails to allege any facts tying this vote to any payments made

by Defendants. It is not enough to allege that they hired an affiliated non-profit to

engage in advocacy work on a related topic at roughly the same time. To avoid chilling

such core First Amendment activity, the government must adduce concrete factual



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allegations capable of proving that Defendants paid Robinson specifically for his vote.

Because the Indictment fails to make any such concrete allegations, it must be dismissed.

                                    STATEMENT
       This case arose out of efforts by a private company, assisted by its outside

counsel, to engage in community outreach and issue advocacy against the EPA’s plan

to take two regulatory actions related to the 35th Avenue Superfund Site in north

Birmingham (the “Superfund plan”). First, the EPA proposed to list the Superfund Site

on the “National Priorities List,” which is reserved for the areas in the country with the

most serious pollution (“the NPL Listing Proposal”). And second, the EPA proposed

to expand the Superfund site to cover the City of Tarrant and the Inglenook

neighborhood (“the Site Expansion Proposal”). See Indictment ¶¶ 7-9. The Indictment

alleges that companies determined to be responsible for pollution within the Site “could

have faced tens of millions of dollars in cleanup costs and fines.” Id. at ¶ 7.

       From the start, the EPA’s Superfund plan was deeply unpopular in Alabama. It

was opposed not only by the local business community but also by the Governor, the

Attorney General, the state legislature, and the state’s environmental regulators. Indeed,

in September, 2014—well before the alleged “bribery scheme” in this case took place—

the Alabama Department of Environmental Management (ADEM) sent a letter to the

EPA stating emphatically: “The State DOES NOT CONCUR in the proposed [NPL]

listing for numerous reasons.” See Appendices B & C attached.




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       Like many others, the Drummond Company strongly opposed the EPA’s

Superfund plan on scientific, economic, and policy grounds. In its view, the alleged

pollution in north Birmingham had been vastly overstated by EPA and environmental

activists relying on flawed scientific studies. In fact, as EPA subsequently determined,

there was no harmful pollution in Tarrant or Inglenook warranting EPA action. Many

local community leaders agreed, and believed the Superfund plan was an ideological

crusade that ignored the interests of local residents, whose property values stood to be

substantially harmed if the Superfund plan went forward.

       To help advance the political and legal fight against the Superfund plan, several

Drummond executives consulted with the company’s outside counsel at Balch &

Bingham, a Birmingham law firm. On behalf of the Drummond Company, Balch &

Bingham hired the Oliver Robinson Foundation to help educate the public about, and

advocate against, the Superfund plan. Indictment ¶ 14. The Foundation was well-known

in Birmingham and had prior experience in community outreach and education

campaigns. It was founded by and affiliated with Oliver L. Robinson, Jr., a part-time

legislator in the Alabama State House of Representatives who represented a district that

did not include the Site or any of the areas being considered by EPA under the Site

Expansion Proposal. Robinson was a natural political ally of the Drummond Company

on the Superfund issue because he too opposed the Superfund plan as contrary to the

interests of local residents.



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      The standard contract between Balch & Bingham and the Foundation is no

different from myriad other agreements routinely entered into by law firms across the

country to engage in vigorous issue advocacy on behalf of their clients. The Foundation

was retained for, among other things, the “collection and dissemination of information”

regarding the Superfund plan. See attached Appendix D, Robinson Foundation

Agreement ¶ 1. Pursuant to the contract, the Foundation hired workers to engage in a

robust public-advocacy campaign to distribute flyers, make phone calls, knock on doors,

and otherwise express the view that the EPA’s Superfund plan was scientifically

unsound and disastrous as a policy matter. The preamble of the contract made clear

that the relationship was subject to federal, state, and local laws, including the Alabama

Ethics Law. Id. The contract said nothing about Robinson taking any “official action”

by using any of the powers of his office to assist Drummond in any way.

      The government has now used the contract as the sole basis for indicting

Defendants for federal “bribery” in violation of 18 U.S.C. § 1343, 1346 (honest-services

bribery) and 18 U.S.C. § 666 (federal-program bribery). The prosecution claims that

hiring the Foundation to engage in issue advocacy was part of a nefarious criminal

“conspiracy.” In particular, the government alleges that Defendants gave the

Foundation “monthly payments in exchange for, among other things, favorable official

action by Representative Robinson in relation to the environmental issues in north

Birmingham.” Indictment ¶ 18.



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       The Indictment identifies four basic categories of alleged “official action.”

Namely, Robinson was to:

       (1) “communicate[] . . . opposition to EPA’s actions to the residents of
       north Birmingham” without disclosing that his Foundation was “being
       paid to represent the exclusive interests of Balch & Bingham and
       Drummond Company.”
       (2) “make a public statement and pressure and advise” two state executive
       agencies, the Alabama Environmental Management Commission
       (“AEMC”) and Alabama Department of Environmental Management
       (“ADEM”), “to take and maintain a position on behalf of the State of
       Alabama favorable to Balch & Bingham and Drummond Company in
       relation to EPA’s efforts to list the 35th Avenue Superfund Site on the
       National Priorities List and expand the Superfund Site”;1
       (3) “meet with and advise EPA officials to take a position favorable to
       Balch & Bingham and Drummond Company in relation to EPA’s efforts
       to list the 35th Avenue Superfund Site on the National Priorities List and
       expand the Superfund Site into Tarrant and Inglenook”; and
       (4) “vote as a member of the State of Alabama House of Representative’s
       Rules Committee to send the joint resolution (SJR97) . . . to the floor of
       the House of Representatives for consideration by the membership of
       the House with the recommendation that the resolution be adopted.”
Indictment ¶¶ 62, 64.

       The government’s allegations under section 666 (federal-program bribery), rely

on the same four categories of conduct: By paying the Foundation to engage in

community education and issue advocacy, Defendants “did corruptly give, offer, and


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          Although this Motion is directed at the sufficiency of the Indictment, we note that in the
FBI memoranda of interview (form 302s), Oliver Robinson, the government’s cooperating witness,
contradicts the assertion that defendants wanted Robinson “to pressure and advise AEMC and the
ADEM Director to take and maintain a position on behalf of the State of Alabama favorable to Balch
& Bingham and Drummond Company.” Indictment ¶ 22. Thus the factual underpinnings of the
Indictment are weak and the law should not be stretched to protect this particular pursuit.


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agree to give” a thing of value to Robinson, an agent of the State of Alabama, “with

intent to influence and reward” him “in connection with” some “business, transaction

or series of transactions of the State of Alabama involving” something “of value of

$5,000 and more.” Indictment ¶ 64.

       In short, the Indictment alleges that Defendants committed both forms of

bribery by hiring and paying the Foundation in exchange for: (1) public advocacy to

“the residents of north Birmingham” expressing the view that the Superfund plan

should not proceed; (2) a public statement Robinson made to a state executive branch

agency and an official in a different state executive branch entity expressing the same

view; (3) a meeting with members of a federal agency on the topic; and (4) a symbolic

committee vote in favor of having the full Alabama House vote on a joint resolution

“urging ‘the Attorney General and ADEM to combat the EPA’s overreach.’”

Indictment ¶¶ 38, 62, 64.2

                                     LEGAL STANDARD
       The Federal Rules of Criminal Procedure require an indictment to be “a plain,

concise, and definite written statement of the essential facts constituting the offense charged.”

Fed. R. Crim. P. 7(c)(1) (emphasis added). When the facts alleged in the indictment do

not legally constitute the offense charged, a defendant may move to dismiss his


       2
           Count One—charging conspiracy to violate Sections 1343 and 666—relies on the same
theories as the substantive counts. And Count Six—Money Laundering Conspiracy—is also derivative
of the bribery offenses, because it alleges transactions using the proceeds of bribery. Accordingly, the
legal viability of all counts is at issue in this motion.


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indictment for “failure to state an offense.” Fed. R. Crim. P. 12(b)(3)(B)(v). In that case,

the district court is “required to dismiss” the indictment. United States v. Cure, 804 F.2d

625, 627 (11th Cir. 1986); see also, e.g., United States v. Bobo, 344 F.3d 1076, 1086 (11th

Cir. 2003) (“[T]he district court erred in failing to dismiss the indictment because it does

not state an offense under the health care fraud statute, and thus, as a matter of law, is

deficient.”); United States v. Peterson, 544 F. Supp. 2d 1363, 1371 (M.D. Ga. 2008) (count

for extortion by a public official dismissed where conduct alleged fell “outside the scope

of the Hobbs Act”).

                                     ARGUMENT
I.     The Alleged Conduct Does Not Constitute Bribery As A Matter Of Law
       The two bribery statutes at issue use different language, but both are inapplicable

for the same basic reason: The Indictment does not properly allege that Defendants

paid Robinson to use his official powers to benefit them, which is the corruption these

laws target.

       A.      The Indictment Fails To Allege Honest-Services Bribery (18 U.S.C.
               § 1343, 1346)
       In a federal bribery prosecution under the honest-services-fraud statute, 18 U.S.C.

§§ 1343, 1346, the government must show that someone paid a public official in

exchange for “official action.” McDonnell, 136 S. Ct. at 2365. Here, Defendants did no

such thing. They did not pay Oliver Robinson to exercise any of the powers of his office,

but instead hired the Foundation to conduct a public-advocacy campaign regarding the



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EPA’s Superfund plan. Neither the Foundation nor Robinson himself did anything

more than engage in constitutionally protected speech expressing their views on the

issue, just as any private citizen could have done. This conduct is not criminal because,

as the Supreme Court recently held, “[s]imply expressing support” for (or opposition

to) a governmental act “does not qualify” as official action. McDonnell, 136 S. Ct. at 2371.

       The federal wire fraud statute, 18 U.S.C. § 1343, prohibits using interstate wires

in furtherance of a “scheme or artifice to defraud, or for obtaining money or property

by means of false or fraudulent pretenses, representations, or promises.” As interpreted

by the lower federal courts over a number of decades, the statute criminalized schemes

to deprive individuals, not only of their “money or property,” but also of their intangible

rights, including their right to the “honest services” of their fiduciaries. Under that

meaning of a scheme or artifice to defraud, invoked by the government here, schemes

that deprive individuals of those honest services are illegal. Easily stated in theory, the

doctrine has proved difficult to apply in practice, as the Courts of Appeals have divided

repeatedly over the various elements of the honest-services offense. See Skilling v. United

States, 561 U.S. 358, 416-20 (2010) (Scalia, J., dissenting).

       In McNally v. United States, 483 U.S 350, 359-360 (1987), the U.S. Supreme Court

temporarily mooted those disagreements by holding that the analogous mail-fraud

statute applied only to schemes to defraud others of money or property, not honest

services, thereby invalidating the doctrine. But the calm following McNally was short-

lived. The year after McNally was decided, Congress passed 18 U.S.C. § 1346, which

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defined the term “scheme or artifice to defraud to include “a scheme or artifice to

deprive another of the intangible right of honest services,” thus resurrecting the pre-

McNally honest-services case law.

      The doctrine proved no easier to apply the second time around and, in Skilling,

the U.S. Supreme Court embraced an opportunity to better define its limits. Surveying

the vast pre-McNally case law, the Supreme Court held in Skilling that § 1346

criminalizes only schemes to defraud involving bribery or kickbacks. 561 U.S. at 408-

09. Urging a more expansive reading, the government had contended that § 1346 should

criminalize schemes involving fiduciaries’ undisclosed conflicts of interest, defined as

“the taking of official action by [a public official or private] employee that furthers his

own undisclosed financial interests while purporting to act in the interests of those to

whom he owes a financial duty.” Id. at 409. The Supreme Court squarely rejected that

contention, citing both due process concerns and the “familiar principle that ambiguity

concerning the ambit of criminal statutes should be resolved in favor of lenity.” Id. at

410 (internal quotations omitted); see id. at 409-11 & n. 44.

      Confined now to schemes involving alleged bribes or kickbacks, prosecutors

continued to push at the limits of the honest-services doctrine. One such effort, the

prosecution of former Virginia Governor Robert McDonnell, earned the government

a unanimous rebuke from the Supreme Court and generated the precedent that requires

the dismissal of the honest-services counts in this Indictment. In McDonnell v. United

States, 136 S. Ct. 2355 (2016), the Supreme Court identified the important interests that

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are threatened by overzealous prosecutions or expansive readings of the honest-services

doctrine—especially where, as here, the “permissible scope of interactions between

state officials and their constituents” are concerned.” Id. at 2373.

      1.     Bribery Requires “Official Action”
      McDonnell clarified the type of “official action” required for a federal bribery

prosecution. Federal law defines an “official act” as a “decision or action on any

question, matter, cause, suit, proceeding or controversy, which may at any time be

pending, or which may by law be brought before any public official, in such official’s

official capacity.” 18 U.S.C. § 201(a)(3). Invoking constitutional avoidance, McDonnell

unanimously rejected the government’s sweeping interpretation of this language and

imposed a series of concrete limits. 136 S. Ct. at 2367-73.

      First, the Court rejected the government’s argument that a “question, matter,

cause, suit, proceeding or controversy” encompasses “nearly any activity by a public

official,” including “the typical call, meeting, or event.” Id. at 2368. Rather, the words

“connote a formal exercise of governmental power, such as a lawsuit, hearing, or

administrative determination.” Id. (emphasis added). Because “a typical meeting, call, or

event arranged by a public official is not of the same stripe” as formal governmental

actions, it would “not qualify” as a “question” or “matter” under § 201. Id. at 2369.

Pursuit of some “broad policy objective,” like promoting economic development, is

likewise too “nebulous” to qualify. Id. at 2374.




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       Second, the Court rejected the government’s theory that an official takes “action

on” a matter merely by “meeting with other officials” or “speaking with interested

parties” to express a particular view. Id. at 2370. The Court ruled that “[s]imply

expressing support” for a governmental act or arranging a “meeting, event, or call” to

discuss it is not itself acting “on” a matter. Id. at 2371. Rather, an official who does not

personally exercise governmental power takes official action only if he “us[es] his official

position to exert pressure” on the responsible official, or “us[es] his official position to

provide advice to another official, knowing or intending that such advice will form the

basis for an ‘official act.’” Id. at 2370, 2372. To illustrate the latter scenario, the Court

cited United States v. Birdsall, in which “subordinates”—”more directly acquainted” with

the “facts and circumstances”—were bribed to recommend clemency to superiors who

“would necessarily rely largely upon [their] reports and advice.” 233 U.S. 223, 234 (1914).

       In so construing the bribery law, the Court avoided “significant constitutional

concerns.” McDonnell, 136 S. Ct. at 2372. Reading “official act” expansively would have

“cast a pall of potential prosecution” over a wide range of legitimate political activity,

such as “arrang[ing] meetings for constituents” and “contact[ing] other officials on their

behalf.” Id. at 2372-73. Treating this type of action as potentially unlawful would allow

“overzealous” prosecutors to indict officials for political conduct based on nothing

more than “prosaic interactions” involving campaign donations or gifts by constituents,

thereby chilling “democratic discourse.” Id. Such a broad reading also would violate

federalism principles by transforming federal bribery law into a code of “good

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government for local and state officials.” Id. at 2373. With so many weighty

considerations in the balance, the Supreme Court emphasized that a statute in the field

of public corruption “‘that can linguistically be interpreted to be either a meat axe or a

scalpel should reasonably be taken to be the latter.’” Id. (quoting United States v. Sun-

Diamond Growers of Cal., 526 U 398, 408 (1999)).

       2.     The Indictment Fails to Allege Official Action
       In the present case, Defendants did not commit bribery because they did not pay

Robinson to exercise the official powers of his office, but instead hired his Foundation to

engage in public advocacy in support of their shared policy position regarding the

imprudence of the federal government’s Superfund plan.

       At the outset, the government cannot plausibly argue that Robinson or his

Foundation engaged in unlawful “official action” simply by “communicat[ing] . . .

opposition to EPA’s actions to the residents of north Birmingham.” Indictment ¶ 62.

Obviously, communicating with one’s fellow citizens on a matter of public policy is not

a “formal exercise of governmental power” that can be prosecuted as bribery. McDonnell,

at 136 S.Ct. 2372. And although nearly every instance of public advocacy on a policy

issue could be loosely characterized as a type of “advice” or “pressure” on the

government, it obviously does not constitute the type of official advice or official pressure

that can be treated as “official action” under McDonnell. Id. at 2370, 2372. Otherwise,

for example, a state legislator who is paid to write an op-ed for a local newspaper urging




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the governor to adopt a new policy could be prosecuted under the federal bribery

statutes. That cannot be the law.

       The primary theory of the Indictment appears to be that Defendants’ payments

to the Foundation for its public-advocacy work were truly intended to be payments to

Robinson himself in exchange for his meeting with EPA officials and his public

statements to the ADEM or AEMC regarding the Superfund plan. But even if the

government could prove that Defendants paid Robinson for these activities—which it

cannot—this conduct still does not qualify as “official action” under McDonnell as a

matter of law. McDonnell makes abundantly clear that merely attending meetings,

speaking with officials, or “expressing support” for a particular view are not official acts

sufficient to incur criminal liability. Id. at 2371. In meeting with EPA officials and

making public statements to the ADEM or AEMC at a hearing, Robinson was not

engaging in any “formal exercise of governmental power,” id. at 2372, because he had

no control over what these agencies would do with respect to the Superfund plan—or

any other official “matter” that may have come before them.

       To be sure, an official who lacks independent authority over a governmental

matter can still act “on” it by “using his official position” either to “exert pressure” on

the responsible official or to “provide advice” where such advice is expected to “form

the basis” for an ultimate decision. Id. at 2370-71. The Indictment repeatedly incants

the phrase “pressure and advise” in an effort to shield itself against attack. Indictment

¶¶ 21, 22, 64. But “pressure” under McDonnell refers to deliberate exploitation of official

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powers, and “advice” refers to a superior relying on the counsel of an aide whose official

role is to provide it. Neither concept extends to unsolicited policy statements simply

because the persons who make and hear the statements happen to be public officials.

As a result, neither concept encompasses Oliver Robinson’s alleged conduct here.

              a.      “Pressure”
       As to pressure, courts recognized even prior to McDonnell that when an official

tries “deliberately to exploit [his] leverage” as a public official to achieve an end, such

as by “threat” of legislative retribution, that is “official” action. United States v. Urciuoli,

513 F.3d 290, 296 (1st Cir. 2008). But just because an official has such power does not

make his actions official. Id. The Second Circuit has since construed McDonnell’s

“pressure” rule accordingly, holding that New York legislator Sheldon Silver’s efforts

to obtain a job at a state-funded nonprofit for the son of his benefactor did not

constitute “pressure” as a matter of law because there was “no evidence in the record

that Silver or anyone else threatened to withhold [the nonprofit’s] funding” if it refused

to comply. United States v. Silver, 864 F.3d 102, 120-21 (2d Cir. 2017).

       Here, the same is true. There is no allegation Robinson used his official powers

to exert any “pressure” on the ADEM, the AEMC, or the EPA, because there is no

claim he sought to leverage the powers of his office to coerce or cajole them in any way.

For example, there is no allegation that he threatened to hold an oversight hearing or

withhold agency funding unless the state agencies did what he wanted. To be sure, he

may have used his reputation and stature as a lawmaker to lend credibility to his


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advocacy, but “trad[ing] … on the reputation, network and influence that comes with

political office” is not “official action.” Urciuoli, 513 F.3d at 296. Moreover, while the

Indictment alleges Robinson used his “official . . . letterhead” to request the opportunity

to make a public statement at the AEMC hearing, ¶ 43, that too did not rise to the level

of an “official action” because “using government letterhead is not, by itself, a formal

exercise of government power.” Silver, 864 F.3d at 120. This reasoning applies with

equal force to Robinson’s references to his constituents. See Indictment ¶¶ 43, 58, 59.

Although the government makes much of these references, they do nothing to remedy

the flaw that undermines the government’s theory: Oliver Robinson did not leverage

the powers of his office to apply pressure to ADEM, the AEMC, or the EPA.

             b.     “Advice”
      Nor was Robinson giving official “advice” to the ADEM, the AEMC, or the

EPA. McDonnell linked “advice” to the “use” of one’s “official position” with an

understanding that the decision maker would “necessarily rely” on such advice. 136 S.

Ct. at 2370. The Court exclusively cited Birdsall, 233 U.S. 223, for this proposition,

explaining that the Birdsall defendants were “subordinates” who were bribed to advise

their “superiors” to grant clemency: a context in which the superiors “‘would necessarily

rely largely upon the reports and advice of subordinates … who were more directly

acquainted with’ the ‘facts and circumstances.’” 136 S. Ct. at 2370 (quoting Birdsall, 233

U.S. at 234). That informs McDonnell’s holding: When a subordinate’s official role is to

make “reports” and provide “advice”—i.e., synthesize information and offer a


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recommendation, as part of the official decision-making process—the superior will

“necessarily rely” on that advice; providing it is thus itself “official.” Id. For advice to

constitute an official act, it must have a legal nexus to the exercise of formal

governmental power whose integrity the corruption laws are meant to protect. See Silver,

864 F.3d at 122 (not treating Silver’s written opposition to a methadone clinic as advice,

because he never “formally used his power as Speaker ... to oppose the clinic”).

       Here, the Indictment does not allege any facts showing that Robinson “us[ed]

his official position,” McDonnell, 136 S. Ct. at 2370, to provide official advice that would

have been known or expected to form the “basis” for a decision by the EPA or AEMC.

Of course, anyone can advocate a position on behalf of a political ally at a meeting or

administrative hearing. But that plainly is not the type of “advice” that McDonnell was

referring to, because it is not a duty of any state legislative “office.” Robinson was no

more “advising” the EPA and the AEMC than any other private citizen who could have

made the same public statements at the hearing, or advocated the same policy position

to the EPA. That a private citizen could have done the same thing as Robinson confirms that

he was not “us[ing] his official position to provide advice,” McDonnell, 136 S. Ct. at

2370-71, but, at most, taking a position on an issue before a federal agency and agencies

in a different branch of state government. “Taking a public position on an issue, by

itself, is not a formal exercise of governmental power, and is therefore not an ‘official

act.’” Silver, 864 F.3d at 122.



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       There are even more fundamental reasons why the government’s “pressure” and

“advice” theories are legally deficient. The EPA is a federal agency, while Robinson was

a state official. As a matter of law, state officials (including legislators like Robinson) lack

authority to make a decision “on” a matter pending before a federal agency like the

EPA. Moreover, with respect to AEMC and ADEM, the Indictment alleges that

Robinson did not have any interaction with officials from those entities until February

2015. Id. at ¶¶ 56- 58. But the ADEM had already made its formal “request” for EPA

to withdraw the NPL Listing Proposal in “January 2015.” Id. at ¶ 12. (And even before

that, the ADEM and the State Attorney General had already informed the EPA of the

State’s conclusive opposition to the NPL Listing in September and October of 2014—

before the alleged “conspiracy” in this case even began. See Appendices B, C.)

Accordingly, Defendants could not possibly have paid Robinson to influence a “request”

to the EPA that the State had already made.

       3.     A Symbolic Vote on a Non-Binding Resolution Is Not Official
              Action
       Because none of the statements Robinson allegedly made—to the public, the

ADEM, the AEMC, or the EPA—qualify as “official action,” that leaves only the single

committee vote that he allegedly cast. Specifically, the Indictment alleges that he voted

in favor of allowing the full Alabama House of Representatives to consider a non-

binding, symbolic resolution “urging the Attorney General and ADEM to combat

EPA’s overreach.” Indictment ¶ 60. That vote alone cannot sustain the Indictment.



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       As a threshold matter, as memorialized in the FBI 302s of his interviews,

Robinson told the government repeatedly that he did not vote or does not remember

voting on the joint resolution at all. Robinson also told the government that he never

spoke with any of the defendants about the vote or the resolution, which was sponsored

by another legislator. Thus, the Indictment’s allegation that Robinson voted on the

resolution in exchange for payments from Defendants is not supportable.

       But even assuming the facts alleged as true, this type of vote on a non-binding

state resolution expressing an opinion about a local issue also is not “official action”

under federal bribery law. Such a resolution is not a “formal exercise” of the legislature’s

“governmental power,” because it does not make any law or affect anyone’s legal rights.

McDonnell, 136 S. Ct. at 2368. When a state assembly passes such a non-binding

resolution, it does not act qua legislature, but instead expresses an opinion that has no

more legal force than the opinion of a private citizen. What is more, the joint resolution

to be sent to the full House for a vote—a resolution merely “urging the Attorney

General and ADEM to combat EPA’s overreach”—was no different than publicly

articulating a broad policy objective or position statement. The Supreme Court

explicitly found such conduct to fall on the non-criminal side of the line in McDonnell.

136 S. Ct. at 2374.

       In any event, the Indictment fails to allege any facts that could prove beyond a

reasonable doubt that Defendants paid Robinson in exchange for his vote. There is no

allegation of any explicit quid pro quo, nor even a suggestion that Defendants made any

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payment to Robinson himself. Instead, the only allegation is that Defendants hired the

Foundation to engage in public advocacy on a related policy issue some six months

prior to Robinson casting the vote. This by itself cannot be enough to sustain a bribery

indictment, or else federal prosecutors would have license to indict half of the state

legislators throughout the country. Alabama is one of 40 states that rely on part-time

legislators, many of whom make a living by advocating for clients’ interests in their

private capacities as attorneys, consultants, or lobbyists.3 If they could be prosecuted

for bribery every time they supported a non-binding resolution that coincides with the

interests of their clients, then they would be stripped of their right to engage in advocacy

for private clients in their private capacities—including core political advocacy under the

First Amendment.

       Such sweeping over-criminalization also runs roughshod over Alabama’s

framework for regulating “the permissible scope of interactions between state officials

and their constituents.” McDonnell, 136 S. Ct. at 2373. Prosecutions for allegedly

depriving the state or local citizenry of their right to honest services always implicate

federalism concerns, because they threaten to improperly involve “the Federal

government in setting standards of good government for local and state officials.” Id.

But they are particularly problematic where, as here, “state law expressly permit[s]” or

“d[oes] not forbid” the conduct that allegedly violates federal law. McNally, 483 U.S. at

       3
          National Conference of State Legislatures, “Full- and Part-Time Legislatures,” available at
https://tinyurl.com/ot324eu.


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362 n. 9. The Alabama Ethics Law expressly permits legislators to represent clients or

constituents “for a fee” before any “executive department or agency,” so long as the

legislator discloses the representation. ALA. CODE § 36-25-10.

       To be sure, Alabama law arguably required Robinson to disclose the business

relationship between his Foundation and Defendants within 10 days of the challenged

conduct. See ALA. CODE § 36-25-10. But Defendants are not public officials charged

with violating Alabama conflict-of-interest laws; they are private citizens charged with

federal bribery. And the federal bribery laws do not criminalize mere “nondisclosure of

a conflicting financial interest.” Skilling, 561 U.S. at 410. That is what this case is really

about. The Indictment repeatedly refers to Robinson’s failure to disclose his

Foundation’s relationship with Defendants. Indeed, U.S. Attorney Jay Town publicly

emphasized during his press conference announcing the charges that “[n]ever once did

he [Robinson] ever disclose this conflict of interest.” Appendix A, Town Tr. at 15. This

underscores that federal prosecutors are once again stretching to reach local conduct

that they deem improper, but which does not violate federal law.

       B.     The Indictment Fails To Allege Federal-Program Bribery (18 U.S.C.
              § 666)
       For similar reasons, Defendants’ alleged conduct also does not constitute

unlawful bribery under the federal-program bribery statute. That statute uses different

words, but targets the same basic misconduct and must be construed in light of the

same constitutional principles that informed McDonnell, including the need to avoid



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“cast[ing] a pall of potential prosecution” over a wide range of legitimate political

activity. 136 S. Ct. at 2372; see Waste Mgmt of La, LLC v. River Birch, Inc., 2017 WL

3279455 at *5 (E.D. La. 2017) (applying reasoning of McDonnell to § 666). Indeed,

federal-program bribery cannot sensibly be construed more broadly than honest-

services bribery, or else the federal bribery laws would apply more strictly to state

officials than to federal ones.

       As relevant here, § 666 prohibits payments intended to “influence or reward” an

“agent” of a state government or agency, “in connection with” any “business” or

“transaction” of that state government or agency, if the state government or agency

receives federal funds. 18 U.S.C. § 666(a)(2). Under this text, Defendants’ alleged

conduct is lawful for two reasons.

       First, the statute does not reach actions taken by officials who are not “acting

within their scope as agents” of a state entity in connection with state business. United

States v. Fernandez, 722 F.3d 1, 14 (1st Cir. 2013) (emphasis added). Thus, while the law

covers “a legislator who misuses his legislative authority,” United States v. Sunia, 643 F.

Supp. 2d 51, 67 (D.D.C. 2009), it does not cover a legislator who takes actions distinct

from his legislative authority. In other words, there must be some use of official position.

That principle is dispositive here because Robinson’s public statements and other

actions relating to the EPA’s Superfund plan were not taken in his capacity as an “agent”

of the state of Alabama “in connection with” any state business. 18 U.S.C. § 666(a)(2).

He did not exercise any of the “legislative authority” conferred by his office, and thus

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his actions were no different in principle than if he had written a newspaper article

expressing the same point. This type of non-official advocacy cannot be a predicate for

a federal bribery prosecution because it is not the action of a state “agent” “in

connection with” state “business.” Id. It makes no difference whether such non-official

advocacy is expressed in a newspaper column, at a meeting with EPA officials, or at a

state administrative hearing.

       Second, the Indictment also fails to state a violation of § 666 because it does not

allege that Defendants influenced or rewarded Robinson in connection with any

“business” or “transaction” of the legislature. Instead, it claims only that Defendants

influenced him in connection with the “business” of the ADEM and the AEMC, which

are agencies in an entirely different branch of the state government. That does not

violate the law.

       The statute requires the government to prove intent to influence an agent of the

state government “or any agency thereof,” in connection with any business or

transaction of “such . . . government[] or agency.” 18 U.S.C. § 666(a)(2) (emphasis added).

Accordingly, the official of a state agency must have been influenced in connection with

the business of his or her own state agency. Here, Robinson was an agent of the state

legislature, and thus violated § 666 only if he was influenced in connection with some

business or transaction of the legislature. But the government barely even tries to shoulder

that burden. Instead, it alleges primarily that Robinson was advocating for the ADEM

and AEMC to take a particular position on the EPA’s Superfund plan. Indeed, the

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Indictment alleges that the Governor “designated ADEM as the State of Alabama’s

representative on issues concerning” the Superfund plan. Indictment ¶ 11. But the

Indictment does not allege—nor could it—that Robinson was an “agent” of ADEM,

or that the Alabama legislature had any formal role to play in the state’s response to the

Superfund plan.

       The government’s contrary argument is that Robinson was an agent of the entire

“State of Alabama,” and that by influencing him in connection with the business of the

ADEM and the AEMC, Defendants actually influenced him in connection with the

business of the entire state. Indictment ¶ 64. This argument is contrary to both the text

and purpose of § 666, which operates at the level of discrete state agencies that receive

federal funding, and does not cover all state officials under the same umbrella. If the agent

of a discrete state agency could be treated as an agent of the entire state, then the

reference to state “agenc[ies]” would be entirely superfluous, violating the rule that

courts “must give effect to every word of a statute wherever possible.” Leocal v. Ashcroft,

543 U.S. 1, 12 (2004). It would also have absurd results: A public-school teacher could

then be indicted for working on behalf of a union to lobby the state legislature, on the

theory that the teacher was an agent of “the state government” seeking to influence the

business of the state.

       On this point the Fifth Circuit’s decision in United States v. Whitfield, 590 F.3d 325

(5th Cir. 2009), is instructive. The court there reversed a § 666 conviction of two

Mississippi state judges who had accepted bribes in connection with pending cases. The

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court acknowledged that they were agents of a state agency that received federal funds,

the Mississippi Administrative Office of the Courts (AOC). Nonetheless, the

government failed to prove that they were influenced in connection with any “business”

or “transaction” of the AOC, because the AOC was not officially involved in deciding

cases. Id. at 345-46. Therefore, because they had not been influenced in connection with

the business of their own agency that received federal funds, they could not be convicted under

§ 666. The same is true here: the government alleges Defendants wrongly influenced a

member of the state legislature in connection with the ADEM’s and the AEMC’s

business regarding the EPA’s Superfund plan. That cannot be a violation of § 666,

however, because the legislature played no official role in those agencies’ business

regarding the Superfund plan.

       Indeed, whether one is an “agent” of the relevant entity is determined by state

law. See United States v. Langston, 590 F.3d 1226, 1237 (11th Cir. 2009) (reversing a

conviction under § 666 because the defendant was not an “agent” of the relevant entity);

see also id. at 1234 (“Because Langston’s employment with the Fire College does not

authorize him to act on behalf of the state under the applicable state law, evidence of

his employment with the Fire College is not relevant to the charges asserting that he

acted as an agent of the state.”). And, in Alabama, power is constitutionally divided

such that a state legislator cannot be an “agent” of the State in connection with the

business of a state executive agency. See Ala. Const. § 43 (“[T]he legislative department

shall never exercise the executive and judicial powers, or either of them[.]”). At most, a

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member of the Alabama House could exercise only legislative power, such as voting,

but never an “executive” power such as the execution of law by the ADEM or AEMC.

       Again, the only thing that Robinson allegedly did that was even arguably related

to the business of the state legislature was to cast a committee vote on the non-binding

resolution. As discussed above, however, that type of non-binding resolution does not

qualify as true legislative “business” because it does not make any law; and in any event

there are no factual allegations linking Robinson’s vote to any of the payments made by

the accused. The vote therefore cannot sustain the § 666 counts any more than it can

sustain the § 1346 counts.

II.    The Indictment Violates The First Amendment And The Rule of Lenity
       A.     The Indictment Fails to Allege The “Explicit” Quid Pro Quo
              Required For An Indictment Based on Protected Political Activity
       The First Amendment fully protects Defendants’ right to hire a third party to

engage in issue advocacy against the EPA’s Superfund plan. Indeed, speech opposing a

federal regulatory proposal “is at the core of what the First Amendment is designed to

protect.” Morse v. Frederick, 551 U.S. 393, 403 (2007); cf. Noerr Motor Freight, Inc., 365 U.S.

127, 140-41 & n. 21 (1961) (use of a third-party to conduct “a publicity campaign to

influence governmental action falls clearly into the category of political activity”).

Accordingly, the government cannot prosecute Defendants for hiring the

Foundation—or even Oliver Robinson himself—merely to “communicate” with

members of the public or government officials about the flaws in the Superfund plan.



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Cf. Roberts v. U.S. Jaycees, 468 U.S. 609, 626-27 (1984) (describing “lobbying” activities

as “worthy of constitutional protection under the First Amendment”). Minnesota State

Bd. For Community Colleges v. Knight, 445 U.S. 271, 308 (Stevens, J., dissenting) (“There

can be no question but that the First Amendment secures the right of individuals to

communicate with their government.”). The First Amendment does not allow the

criminal punishment of mere paid advocacy, as opposed to true bribery, which requires

a payment in exchange for the exercise of official governmental powers.

       Although the Indictment claims that hiring the Foundation for advocacy was

really a benefit provided to Robinson as a bribe, the First Amendment does not allow

such vague and circumstantial allegations to transform protected political activity into

criminally indictable conduct. Instead, when a bribery charge rests on an expenditure

that is itself protected under the First Amendment, the government is required to allege

that the expenditure was “made in return for an explicit promise or undertaking by the

official to perform or not to perform an official act.” See McCormick v. United States, 500

U.S. 257, 272 (1991) (emphasis added); United States v. Siegelman, 640 F.3d 1159, 1171-

72 (2011). At issue in McCormick and Siegelman were campaign donations, but the

independent-advocacy expenditures at issue here are entitled to even greater First

Amendment protection. See Buckley v. Valeo, 424 U.S. 1, 45-46 (1976). Such protected

expenditures cannot be the subject of a criminal prosecution unless they are made

pursuant to an “explicit” agreement “in return for a specific official action.” Siegelman, 640

F.3d at 1171. “In the absence of such an agreement on a specific action, even a close-

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in-time relationship between the [expenditure] and the act will not suffice” to sustain a

bribery case. Id.

       Here, the Indictment cannot survive under the First Amendment because it does

not allege any “explicit” or “specific” quid pro quo agreement. Instead it alleges only that

Defendants hired the Foundation to engage in protected advocacy against the EPA’s

Superfund plan, and Oliver Robinson benefited from the advocacy contract while also

engaging in unspecified “official” actions. Notably, the Indictment does not (because it

cannot) allege that he took any official action as part of any “explicit” or “specific”

agreement. The only explicit or specific agreement alleged is the constitutionally

protected advocacy contract between Balch and the Foundation. Certainly, there is no

allegation of any explicit agreement that Robinson would cast a committee vote in

exchange for any payment to the Foundation. For this reason, the Indictment must be

rejected as an improper attempt to punish Defendants for exercising their First

Amendment rights to organize an advocacy campaign against the regulatory efforts of

a federal agency.

       B.     The Rule of Lenity Prohibits The Government From Stretching the
              Bribery Code To Reach the Conduct Alleged Here
       Even without First Amendment concerns, “‘ambiguity concerning the ambit of

criminal statutes should be resolved in favor of lenity.’” Cleveland v. United States, 531

U.S. 12, 25 (2000) (quoting Rewis v. United States, 401 U.S. 808, 812 (1971)). Indeed, both

the Supreme Court and the Eleventh Circuit have applied the rule of lenity to reject



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prosecutions under the very statutes at issue here. See Skilling, 561 U.S. at 410–11

(interpreting “scheme to defraud” under § 1346); United States v. Jimenez, 705 F.3d 1305,

1309 (11th Cir. 2013) (§ 666); Cleveland, 531 U.S. at 25 (§ 1341). The purpose of the rule

is to ensure that “fair warning [is] given” about the “line” between innocent and criminal

conduct. United States v. Svete, 556 F.3d 1157, 1169 (11th Cir. 2009) (en banc) (quoting

McBoyle v. United States, 283 U.S. 25, 27 (1931)). The rule applies with special force “when

a broad construction of a criminal statute would ‘criminalize a broad range of apparently

innocent conduct.’” Id. (quoting Liparota v. United States, 471 U.S. 419, 426 (1985)).

       In the present case, it is hardly “unambiguous” that federal law prohibits any of

the conduct alleged in the Indictment. Even if the retention of the Foundation to

engage in issue advocacy can be recharacterized as a scheme to pay Robinson personally,

it is far from clear whether his alleged actions qualify as unlawful “official acts” or as

“in connection with” state legislative business. During the press conference announcing

the charges in this case, the U.S. Attorney himself acknowledged that the contract with

the Robinson Foundation itself was legal, admitting that “the line in the sand is not that I

can’t hire somebody to consult with me.” Appendix A, Town Tr. at 27. So where is the line

between protected First Amendment advocacy and a federal felony? Despite the

Supreme Court’s instruction that “the line should be clear,” McBoyle, 283 U.S. at 27, the

U.S. Attorney conceded that the theory used here blurs the line beyond recognition. He

admitted: “I don’t know where the line is, but I know [the charged conduct is] on the other side of it.”

Id. That is not good enough under Supreme Court precedent. It certainly does not

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suffice to sustain an indictment that has already wreaked havoc on the lives of the

Defendants, three law-abiding professionals who never for a moment suspected that

they might be engaged in criminal conduct.

                                  CONCLUSION
      For these reasons, the Court should dismiss the Indictment in full under Federal

Rule of Criminal Procedure 12(b)(3)(B)(v). Alternatively, the Court should dismiss the

Indictment in part, limiting the criminal case to the allegation that Defendants paid

Robinson in exchange for a committee vote on the non-binding resolution.



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                                               Respectfully submitted,
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                               Certificate of Service
      I certify that on February 16, 2018 the foregoing DEFENDANTS’ JOINT

MOTION TO DISMISS THE INDICTMENT AND MEMORANDUM IN

SUPPORT THEREOF has been served on all attorneys of record in the above-

captioned case via the CM/ECF electronic filing system.


                                          /s/ Henry W. Asbill
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